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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION




UNITED STATES OF AMERICA



V.                                            CR124-001

LYNWOOD FORREST BURKE




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Brooks K. Hudson having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Brooks K. Hudson be granted leave of

absence for the following periods: July 3, 2024 through July 5, 2024; July 22, 2024

through July 26, 2024; and August 22, 2024 through August 23, 2024.

      ORDERED,this the gy^^'^av of June, 2024.


                                       HONORAftiE'J. RANDAL HALL
                                       UNITED ^ATES DISTRICT JUDGE
                                         lUTHERN DISTRICT OF GEORGIA
